                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION
                                    3:13-CR-00258-RJC
    USA                                           )
                                                  )
      v.                                          )                  ORDER
                                                  )
    DERWIN DURHAM (1)                             )
                                                  )

           THIS MATTER is before the Court upon motion of the defendant pro se for a sentence

reduction based on his completion of a substance abuse treatment program on November 21,

2013, at the Mecklenburg County Jail. (Doc. No. 367).

           The Court sentenced the defendant on February 23, 2015, and recommended to the

Bureau of Prisons (BOP) that he be allowed to participate in any available substance abuse

treatment program and, if eligible, receive the benefits of 18 U.S.C. § 3621(e)(2). (Doc. No. 301:

Judgment at 2). Section 3621(e)(2)(A) gives the Director of the BOP the discretion to determine

whether a prisoner has successfully completed a residential substance abuse treatment program.

Upon successful completion of such a program, the BOP may reduce the prisoner’s remaining

sentence by up to one year. 18 U.S.C. § 3621(e)(2)(B). “[T]he statute expressly vests the Bureau

of Prisons with broad discretion to grant or deny sentence reductions to eligible prisoners.”

Pelissero v. Thompson, 170 F.3d 442, 444 (4th Cir. 1999). If a defendant is not given the

sentencing credit he thinks he deserves, his recourse is first to seek an administrative remedy, 28

C.F.R. § 542.10, and after that to file a petition under 28 U.S.C. § 2241 in the district of

confinement.1 Id.




1
 The defendant is serving his sentence at FCI-Williamsburg in Salters, South Carolina. See
https://www.bop.gov/inmateloc.


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       IT IS, THEREFORE, ORDERED, that the defendant’s pro se motion for sentence

reduction, (Doc. No. 367) is DENIED.

       The Clerk is directed to certify copies of this order to the defendant, counsel for the

defendant, to the United States Attorney, the United States Marshals Service, and the United

States Probation Office.

                                              Signed: August 10, 2017




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